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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



CELGENE CORPORATION,

              Plaintiff,
                                               Civil Action No. ___________________
   v.
                                               (Filed Electronically)
ZYDUS PHARMACEUTICALS (USA)
INC.,

              Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Celgene Corporation (“Celgene” or “Plaintiff”), by its undersigned attorneys,

brings this action against Defendant Zydus Pharmaceuticals (USA) Inc. (“Zydus” or

“Defendant”), and hereby alleges as follows:
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                                 NATURE OF THE ACTION

       1.      This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1, et seq., and in particular under 35 U.S.C. § 271. This action relates

to Abbreviated New Drug Application (“ANDA”) No. 211859 (hereinafter, “Zydus’s ANDA”),

filed by and for the benefit of Zydus with the United States Food and Drug Administration

(“FDA”). Through Zydus’s ANDA, Zydus seeks approval to market generic versions of

Celgene’s OTEZLA® (apremilast) 10 mg, 20 mg, and 30 mg tablets (hereinafter, “Zydus’s

Infringing ANDA Products”), prior to the expiration of Celgene’s United States Patent Nos.

8,093,283 (“the ’283 Patent”) and 8,629,173 (“the ’173 Patent”) (together, “the Patents-in-Suit”).

                                         THE PARTIES

       2.      Celgene is a biopharmaceutical company committed to improving the lives of

patients worldwide. Celgene focuses on, and invests heavily in, the discovery and development

of products for the treatment of severe and life-threatening conditions. Celgene is a world leader

in the treatment of many such diseases. Celgene is a corporation organized and existing under the

laws of the State of Delaware, having a principal place of business at 86 Morris Avenue,

Summit, New Jersey 07901.

       3.      On information and belief, Defendant Zydus Pharmaceuticals (USA) Inc. is a

corporation organized and existing under the laws of the State of New Jersey, having a principal

place of business at 73 Route 31 North, Pennington, New Jersey 08534.

                                JURISDICTION AND VENUE

       4.      This is a civil action for patent infringement arising under the patent laws of the

United States, including 35 U.S.C. § 271, for infringement of the Patents-in-Suit.

       5.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338, 2201, and 2202.


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       6.      This Court has personal jurisdiction over Defendant Zydus because, inter alia, on

information and belief, Zydus has continuous and systematic contacts with the State of New

Jersey, regularly conducts business in the State of New Jersey, either directly or through one or

more wholly owned subsidiaries, agents, and/or alter egos, has purposefully availed itself of the

privilege of doing business in the State of New Jersey, and intends to sell Zydus’s Infringing

ANDA Products in the State of New Jersey upon approval of ANDA No. 211859.

       7.      This Court also has personal jurisdiction over Zydus at least because Zydus is

incorporated in New Jersey and has its principal place of business in New Jersey.

       8.      On information and belief, Zydus is in the business of, inter alia, developing,

manufacturing, obtaining regulatory approval, marketing, selling, and distributing generic copies

of branded pharmaceutical products throughout the United States, including within the State of

New Jersey, through its own actions and through the actions of its agents and subsidiaries, from

which Zydus derives a substantial portion of its revenue.

       9.      On information and belief, Zydus, through its own actions and through the actions

of its agents and subsidiaries, has engaged in the research and development, and the preparation

and filing, of ANDA No. 211859, continues to engage in seeking FDA approval of this ANDA,

intends to engage in the commercial manufacture, marketing, offer for sale, sale, or importation

of Zydus’s Infringing ANDA Products throughout the United States, including within the State

of New Jersey, and stands to benefit from the approval of ANDA No. 211859.

       10.     On information and belief, Zydus, through its own actions and through the actions

of its agents and subsidiaries, prepared and submitted ANDA No. 211859 with a Paragraph IV

Certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV).




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       11.     On information and belief, following FDA approval of ANDA No. 211859, Zydus

intends to market, offer to sell, sell, or distribute Zydus’s Infringing ANDA Products throughout

the United States and within the State of New Jersey, that will, as explained below, infringe upon

Celgene’s rights in the Patents-in-Suit protecting its OTEZLA® products. On information and

belief, following FDA approval of ANDA No. 211859, Zydus knows and intends that Zydus’s

Infringing ANDA Products will be marketed, used, distributed, offered for sale, or sold in the

United States and within the State of New Jersey.

       12.     On information and belief, Zydus is registered to do business in the State of New

Jersey under Entity Identification Number 0100915422 and is registered with the New Jersey

Department of Health as a drug wholesaler under Registration Number 5003171.

       13.     Zydus has consented to personal jurisdiction in this Court in numerous recent

actions arising out of its ANDA filings and has filed counterclaims in such cases, including in a

related litigation that also arises out of Zydus’s filing of ANDA No. 211859. See, e.g., Celgene

Corp. v. Zydus Pharm. (USA) Inc., No. 18-cv-11267, D.I. 13 (D.N.J. Aug 22, 2018); Sumitomo

Dainippon Pharma Co., Ltd. et al. v. Aurobindo Pharma Ltd. et al., No. 18-cv-02620, D.I. 90

(D.N.J. Apr. 12, 2018); Takeda Pharm. Co. Ltd. et al. v. Zydus Pharm. (USA) Inc. et al., No. 18-

cv-01994, D.I. 22 (D.N.J. Mar. 29, 2018); Celgene Corp. v. Zydus Pharm. (USA) Inc. et al., No.

17-cv-02528, D.I. 19 (D.N.J. Aug. 7, 2017). Zydus has purposefully availed itself of the rights

and benefits of this Court by asserting counterclaims in this Court.

       14.     This Court also has personal jurisdiction over Zydus at least because, inter alia,

(a) Zydus has filed an ANDA seeking approval to engage in the commercial manufacture, use,

offer for sale, sale, or importation of Zydus’s Infringing ANDA Products in the United States,

including in the State of New Jersey; (b) Zydus, through its own actions and through the actions




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of its agents and subsidiaries, will market, distribute, offer to sell, or sell Zydus’s Infringing

ANDA Products in the United States, including in the State of New Jersey and to residents of

this Judicial District, upon approval of ANDA No. 211859, and will derive substantial revenue

from the use or consumption of Zydus’s Infringing ANDA Products in the State of New Jersey;

and (c) Zydus has purposefully availed itself of the privilege of doing business in the State of

New Jersey by placing goods into the stream of commerce for distribution throughout the United

States and within the State of New Jersey, and/or by selling, directly or through its agents,

pharmaceutical products in the State of New Jersey. On information and belief, if ANDA No.

211859 is approved, Zydus’s Infringing ANDA Products charged with infringing the Patents-in-

Suit would, inter alia, be marketed, distributed, offered for sale, or sold in the State of New

Jersey, prescribed by physicians practicing in New Jersey, dispensed by pharmacies located

within New Jersey, and used by patients in New Jersey, all of which would have a substantial

effect on New Jersey.

       15.     This Court also has personal jurisdiction over Zydus because Zydus has

committed, or aided, abetted, contributed to, and/or participated in the commission of, acts of

patent infringement that will lead to foreseeable harm and injury to Celgene, a corporation

headquartered in the State of New Jersey that manufactures OTEZLA® drug products for sale

and use throughout the United States, including in this Judicial District. On information and

belief, Zydus filed ANDA No. 211859 with a Paragraph IV Certification, which was

purposefully directed to the State of New Jersey, where Celgene is located. As a result, the

consequences of Zydus’s actions were, and will be, suffered in the State of New Jersey. Zydus

knew or should have known that the consequences of its actions were, and will be, suffered in

the State of New Jersey. At the time Zydus sent notice of the Paragraph IV Certification, it was




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reasonably foreseeable that Zydus would be sued in this Judicial District, where Celgene is

located. On information and belief, Zydus’s actions will injure Celgene by displacing at least

some, if not all, of Celgene’s sales of OTEZLA® drug products in this Judicial District, as well as

resulting in price erosion and loss of goodwill with the purchasers and distributors of OTEZLA®

drug products in this Judicial District.

        16.     On information and belief, Zydus has also engaged in substantial, systematic, and

continuous contacts with New Jersey that satisfy due process and confer personal jurisdiction

over Zydus in New Jersey.

        17.     At least because, on information and belief, Zydus is incorporated in New Jersey,

venue is proper in this Judicial District pursuant to 28 U.S.C. § 1400(b).

                          CELGENE’S PATENTS AND APPROVED
                              OTEZLA® DRUG PRODUCTS

        18.     Celgene makes and sells OTEZLA® (apremilast) 10 mg, 20 mg, and 30 mg tablets

(collectively, “OTEZLA®”) for oral use to treat adult patients with active psoriatic arthritis

(Indication 1.1), as well as patients with moderate to severe plaque psoriasis who are candidates

for phototherapy or systemic therapy (Indication 1.2). The active ingredient in OTEZLA® is

apremilast. A true and correct copy of the prescribing information for Celgene’s OTEZLA® is

attached as Exhibit A.

        19.     Celgene holds New Drug Application (“NDA”) No. 205437, under which FDA

approved the marketing of OTEZLA® on March 21, 2014.

        20.     OTEZLA® is the first approved pharmaceutical product to contain apremilast. In

recognition of this, the FDA granted OTEZLA® five years of regulatory exclusivity for a new

chemical entity, which expires on March 21, 2019, pursuant to 21 C.F.R. § 314.108.




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        21.     Celgene, as the assignee, owns the entire right, title, and interest in each of the

Patents-in-Suit. Celgene has the right to enforce each of these Patents.

        22.     The ’283 Patent is entitled, “Solid Forms Comprising (+)-[1-(3-Ethoxy-4-

Methoxyphenyl)-2-Methylsulfonylethyl]-4-Acetylaminoisinoline-1,3-Dione,                Compositions

Thereof, and Uses Thereof.” The ’283 Patent was duly and legally issued on January 10, 2012.

The ’283 Patent’s term ends on March 19, 2023. A true and correct copy of the ’283 Patent is

attached as Exhibit B.

        23.     The      ’173   Patent   is   entitled,    “(+)-2-[1-(3-Ethoxy-4-Methoxyphenyl)-2-

Methylsulfonylethyl]-4-Acetylaminoisoindoline-1,3-Dione,     Compositions   Thereof,    and   Uses

Thereof.” The ’173 Patent was duly and legally issued on January 14, 2014. The ’173 Patent’s

term ends on March 19, 2023. A true and correct copy of the ’173 Patent is attached as Exhibit

C.

        ZYDUS’S ANDA AND NOTICE OF PARAGRAPH IV CERTIFICATION

        24.     On information and belief, Zydus has submitted or caused to be submitted ANDA

No. 211859 to FDA under 21 U.S.C. § 355(j), to obtain approval to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of the apremilast

tablets described therein, as a purported generic version of OTEZLA®, prior to the expiration of

the Patents-in-Suit.

        25.     On information and belief, Zydus’s Infringing ANDA Products are tablets that

comprise 10 mg, 20 mg, or 30 mg of apremilast as the active pharmaceutical ingredient.

        26.     On information and belief, FDA has not yet approved ANDA No. 211859.

        27.     Celgene received a Notice of Paragraph IV Certification from Zydus dated May

24, 2018 (“Notice Letter”). The Notice Letter represented that Zydus had submitted to FDA

ANDA No. 211859 with a purported Paragraph IV Certification pursuant to 21 U.S.C.


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§ 355(j)(2)(A)(vii)(IV) to obtain approval to engage in the commercial manufacture, use, offer

for sale, sale, or importation into the United States of the products described in ANDA No.

211859 before the expiration of the patents listed in the Orange Book for OTEZLA®. The Notice

Letter contained a purported detailed statement of the factual and legal basis for Zydus’s opinion

that the patents listed in the Orange Book for OTEZLA®, are purportedly invalid, unenforceable,

or not infringed by the manufacture, use, offer for sale, sale, or importation into the United States

of Zydus’s Infringing ANDA Products (“Paragraph IV Statement”).

       28.     Celgene brought suit against Zydus within forty-five days of receipt of the Notice

Letter, see Celgene Corp. v. Zydus Pharm. (USA) Inc., C.A. No. 3:18-11267 (MAS)(DEA) (the

“Related Action”) (consolidated with Celgene Corp. v. Sandoz Inc., et al., C.A. No. 3:18-11026

(MAS)(DEA)), asserting infringement of Celgene’s patents listed in the Orange Book for

OTEZLA®.       The Patents-in-Suit are in the same patent family as the Orange Book patents

against which Zydus filed its Paragraph IV Certification, which are asserted in the Related

Action. On information and belief, Zydus had actual and constructive notice of the Patents-in-

Suit prior to filing Zydus’s ANDA.

       29.     In its Notice Letter, Zydus asserted that its Zydus’s Infringing ANDA Products do

not contain Form B of apremilast, but the Notice Letter did not specify the form(s) of apremilast

that it contends are present.

       30.     On information and belief, Zydus’s Infringing ANDA Products contain one or

more forms of apremilast that have an X-ray powder diffraction pattern comprising the specified

peaks recited in claims of the Patent-in-Suit.

       31.     In a letter dated September 3, 2019, Celgene requested Zydus’s consent to analyze

samples of Zydus’s API and tablets that were produced to Celgene in the Related Action, in




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order to further assess whether Zydus’s Infringing ANDA Products infringe the Patents-in-Suit.

In the same letter, Celgene alternatively requested that Zydus provide additional API and tablet

samples specifically for Celgene’s requested analysis. On September 23, 2019, Zydus refused

both of Celgene’s requests, thereby depriving Celgene of its ability to further analyze Zydus’s

Infringing ANDA Products. Zydus counter-proposed that it may consider granting Celgene

permission to test Zydus’s apremilast ANDA product and API samples in Celgene’s possession

under the condition that Celgene agree to dismiss certain infringement claims against Zydus in

the Related Action. This condition was unacceptable to Celgene and unrelated to this action. In

its September 23, 2019 response, Zydus did not dispute infringement of the Patents-in-Suit. On

September 27, 2019, Celgene rejected Zydus’s purported counter-proposal and requested

confirmation by October 1, 2019 of Zydus’s refusal to allow Celgene to analyze samples of

Zydus’s API and tablets that were produced to Celgene in the Related Action. Zydus did not

respond.

       32.    Zydus’s purpose in submitting ANDA No. 211859 is to obtain FDA approval to

engage in the commercial manufacture, use, offer for sale, sale, or importation into the United

States of Zydus’s Infringing ANDA Products before the expiration of the Patents-in-Suit.

       33.    On information and belief, Zydus, through its own actions and through the actions

of its agents and subsidiaries, has assisted with and participated in the preparation and

submission of ANDA No. 211859, has provided material support to the preparation and

submission of ANDA No. 211859, and intends to support the further prosecution of ANDA No.

211859.

       34.    On information and belief, if FDA approves ANDA No. 211859, Zydus will

manufacture, offer to sell, or sell Zydus’s Infringing ANDA Products within the United States,




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 including within the State of New Jersey, or will import Zydus’s Infringing ANDA Products into

 the United States, including New Jersey.

         35.     On information and belief, if FDA approves ANDA No. 211859, Zydus will

 actively induce or contribute to the manufacture, use, offer to sell, sale, or importation of

 Zydus’s Infringing ANDA Products in the United States.

                                        COUNT 1
                             INFRINGEMENT OF THE ’283 PATENT

         36.     Celgene states, realleges, and incorporates by reference the foregoing paragraphs

 as if fully set forth herein.

         37.     On information and belief, Zydus has submitted or caused the submission of

 ANDA No. 211859 to FDA and continues to seek FDA approval of ANDA No. 211859.

         38.     Zydus has infringed the ’283 Patent under 35 U.S.C. § 271(e)(2)(A) by submitting

 ANDA No. 211859 and seeking FDA approval of ANDA No. 211859 prior to the expiration of

 the ’283 Patent.

         39.     The ’283 Patent includes claims that recite a form of (+)-2-[1-(3-ethoxy-4-

 methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-dione,     wherein   the   form

 has an X-ray powder diffraction pattern comprising certain specified peaks.

         40.     On information and belief, Zydus’s Infringing ANDA Products contain a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-

 dione, wherein the form has an X-ray powder diffraction pattern comprising the specified peaks.

 Prior to filing this complaint, Celgene requested samples of Zydus’s Infringing ANDA Products

 to test; to date, Zydus has refused to provide such samples for testing.

         41.     On information and belief, Zydus’s commercial manufacture, use, offer for sale,

 or sale within the United States, or importation into the United States of Zydus’s Infringing



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 ANDA Products would directly infringe, or would actively induce or contribute to infringement

 of the ’283 Patent either literally or under the doctrine of equivalents. See 35 U.S.C. § 271(a),

 (b), and (c). Accordingly, unless enjoined by this Court, upon FDA approval of ANDA No.

 211859, Zydus will make, use, offer for sale, or sell Zydus’s Infringing ANDA Products within

 the United States, or will import Zydus’s Infringing ANDA Products into the United States, and

 will thereby infringe, contribute to the infringement of, or induce the infringement of one or

 more claims of the ’283 Patent. See id.

        42.      On information and belief, upon FDA approval of ANDA No. 211859, Zydus,

 through its own actions and through the actions of its agents and subsidiaries, will market and

 distribute Zydus’s Infringing ANDA Products to resellers, pharmacies, hospitals and other

 clinics, healthcare professionals, and end users of Zydus’s Infringing ANDA Products. On

 information and belief, Zydus will also knowingly and intentionally accompany Zydus’s

 Infringing ANDA Products with a product label and product insert that will include instructions

 for using or administering Zydus’s Infringing ANDA Products. On information and belief, the

 product label and product insert accompanying Zydus’s Infringing ANDA Products will include

 instructions that are substantially similar to the instructions found in the prescribing information

 for OTEZLA®, attached as Exhibit A, and which, if followed, will infringe the ’283 Patent.

 Accordingly, Zydus will induce physicians and other healthcare professionals, resellers,

 pharmacies, and end users of Zydus’s Infringing ANDA Products to directly infringe one or

 more claims of the ’283 Patent. In addition, on information and belief, Zydus will encourage acts

 of direct infringement with knowledge of the ’283 Patent and knowledge that it is encouraging

 infringement.




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         43.     On information and belief, Zydus had actual and constructive notice of the ’283

 Patent prior to filing Zydus’s ANDA, at least because the ’283 Patent is in the same patent

 family as the Orange Book patents against which Zydus filed its Paragraph IV Certification, and

 was aware that the filing of Zydus’s ANDA with the request for FDA approval prior to the

 expiration of the ’283 Patent would constitute an act of infringement of the ’283 Patent.

         44.     Celgene will be irreparably harmed if Zydus is not enjoined from infringing, and

 from actively inducing and contributing to the infringement of the ’283 Patent. Celgene does not

 have an adequate remedy at law, and considering the balance of hardships between Celgene and

 Zydus, a remedy in equity is warranted. Further, the public interest would not be disserved by the

 entry of a permanent injunction.

         45.     This case is exceptional, and Celgene is entitled to an award of attorneys’ fees

 under 35 U.S.C. § 285.

                             COUNT 2
       DECLARATORY JUDGMENT OF INFRINGEMENT OF THE ’283 PATENT

         46.     Celgene states, realleges, and incorporates by reference the foregoing paragraphs

 as if fully set forth herein.

         47.     Celgene’s claims also arise under the Declaratory Judgment Act, 28 U.S.C.

 §§ 2201 and 2202.

         48.     The ’283 Patent includes claims that recite a form of (+)-2-[1-(3-ethoxy-4-

 methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-dione,     wherein   the   form

 has an X-ray powder diffraction pattern comprising certain specified peaks.

         49.     On information and belief, Zydus’s Infringing ANDA Products contain a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-

 dione, wherein the form has an X-ray powder diffraction pattern comprising the specified peaks.



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 Prior to filing this complaint, Celgene requested samples of Zydus’s Infringing ANDA Products

 to test; to date, Zydus has refused to provide such samples for testing.

         50.     On information and belief, if Zydus’s ANDA is approved, Zydus’s Infringing

 ANDA Products will be made, offered for sale, sold, or otherwise distributed in the United

 States, including in the State of New Jersey, or will be imported into the United States, including

 the State of New Jersey, by or through Zydus and its affiliates. Zydus will therefore directly

 infringe one or more claims of the ’283 Patent either literally or under the doctrine of

 equivalents. See 35 U.S.C. § 271(a).

         51.     On information and belief, Zydus knows that healthcare professionals or patients

 will use Zydus’s Infringing ANDA Products in accordance with the labeling sought by Zydus’s

 ANDA. On information and belief, the product label and product insert accompanying Zydus’s

 Infringing ANDA Products will include instructions that are substantially similar to the

 instructions found in the prescribing information for OTEZLA®, attached as Exhibit A, and

 which, if followed, will infringe the ’283 Patent. Zydus will therefore contribute to, or induce,

 the infringement of one or more claims of the ’283 Patent either literally or under the doctrine of

 equivalents. See 35 U.S.C. § 271(a), (b), and (c).

         52.     On information and belief, Zydus’s infringing activity, including the commercial

 manufacture, use, offer for sale, sale, or importation of Zydus’s Infringing ANDA Products

 complained of herein, will begin immediately after the FDA approves Zydus’s ANDA. Any such

 conduct before the ’283 Patent expires will directly infringe, contribute to the infringement of, or

 induce the infringement of one or more claims of the ’283 Patent under one or more of 35 U.S.C.

 § 271(a), (b), and (c).




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          53.    As a result of the foregoing facts, there is a real, substantial, and continuing

 justiciable controversy between Celgene and Zydus concerning liability for the infringement of

 the ’283 Patent for which this Court may grant declaratory relief consistent with Article III of the

 United States Constitution.

          54.    Celgene will be substantially and irreparably harmed by Zydus’s infringing

 activities unless those activities are enjoined by this Court. Celgene has no adequate remedy at

 law.

          55.    This case is exceptional, and Celgene is entitled to an award of attorneys’ fees

 under 35 U.S.C. § 285.

                                        COUNT 3
                             INFRINGEMENT OF THE ’173 PATENT

          56.    Celgene states, realleges, and incorporates by reference the foregoing paragraphs

 as if fully set forth herein.

          57.    On information and belief, Zydus has submitted or caused the submission of

 ANDA No. 211859 to FDA and continues to seek FDA approval of ANDA No. 211859.

          58.    Zydus has infringed the ’173 Patent under 35 U.S.C. § 271(e)(2)(A) by submitting

 ANDA No. 211859 and seeking FDA approval of ANDA No. 211859 prior to the expiration of

 the ’173 Patent.

          59.    The ’173 Patent includes claims that recite methods of administering a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-

 dione, wherein the form has an X-ray powder diffraction pattern comprising certain specified

 peaks.

          60.    On information and belief, Zydus’s Infringing ANDA Products contain a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-



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 dione, wherein the form has an X-ray powder diffraction pattern comprising the specified peaks.

 Prior to filing this complaint, Celgene requested samples of Zydus’s Infringing ANDA Products

 to test; to date, Zydus has refused to provide such samples for testing.

        61.     On information and belief, Zydus’s commercial manufacture, use, offer for sale,

 or sale within the United States, or importation into the United States of Zydus’s Infringing

 ANDA Products would directly infringe, or would actively induce or contribute to infringement

 of the ’173 Patent either literally or under the doctrine of equivalents. See 35 U.S.C. § 271(a),

 (b), and (c). Accordingly, unless enjoined by this Court, upon FDA approval of ANDA No.

 211859, Zydus will make, use, offer for sale, or sell Zydus’s Infringing ANDA Products within

 the United States, or will import Zydus’s Infringing ANDA Products into the United States, and

 will thereby infringe, contribute to the infringement of, or induce the infringement of one or

 more claims of the ’173 Patent. See id.

        62.     On information and belief, upon FDA approval of ANDA No. 211859, Zydus,

 through its own actions and through the actions of its agents and subsidiaries, will market and

 distribute Zydus’s Infringing ANDA Products to resellers, pharmacies, hospitals and other

 clinics, healthcare professionals, and end users of Zydus’s Infringing ANDA Products. On

 information and belief, Zydus will also knowingly and intentionally accompany Zydus’s

 Infringing ANDA Products with a product label and product insert that will include instructions

 for using or administering Zydus’s Infringing ANDA Products. On information and belief, the

 product label and product insert accompanying Zydus’s Infringing ANDA Products will include

 instructions that are substantially similar to the instructions found in the prescribing information

 for OTEZLA®, attached as Exhibit A, and which, if followed, will infringe the ’173 Patent.

 Accordingly, Zydus will induce physicians and other healthcare professionals, resellers,




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 pharmacies, and end users of Zydus’s Infringing ANDA Products to directly infringe one or

 more claims of the ’173 Patent. In addition, on information and belief, Zydus will encourage acts

 of direct infringement with knowledge of the ’173 Patent and knowledge that it is encouraging

 infringement.

         63.     On information and belief, Zydus had actual and constructive notice of the ’173

 Patent prior to filing Zydus’s ANDA, at least because the ’173 Patent is in the same patent

 family as the Orange Book patents against which Zydus filed its Paragraph IV Certification, and

 was aware that the filing of Zydus’s ANDA with the request for FDA approval prior to the

 expiration of the ’173 Patent would constitute an act of infringement of the ’173 Patent.

         64.     Celgene will be irreparably harmed if Zydus is not enjoined from infringing, and

 from actively inducing and contributing to the infringement of the ’173 Patent. Celgene does not

 have an adequate remedy at law, and considering the balance of hardships between Celgene and

 Zydus, a remedy in equity is warranted. Further, the public interest would not be disserved by the

 entry of a permanent injunction.

         65.     This case is exceptional, and Celgene is entitled to an award of attorneys’ fees

 under 35 U.S.C. § 285.

                             COUNT 4
       DECLARATORY JUDGMENT OF INFRINGEMENT OF THE ’173 PATENT

         66.     Celgene states, realleges, and incorporates by reference the foregoing paragraphs

 as if fully set forth herein.

         67.     Celgene’s claims also arise under the Declaratory Judgment Act, 28 U.S.C.

 §§ 2201 and 2202.

         68.     The ’173 Patent includes claims that recite methods of administering a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-



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 dione, wherein the form has an X-ray powder diffraction pattern comprising certain specified

 peaks.

          69.   On information and belief, Zydus’s Infringing ANDA Products contain a form of

 (+)-2-[1-(3-ethoxy-4-methoxyphenyl)-2-methylsulfonylethyl]-4-acetylaminoisoindoline-1,3-

 dione, wherein the form has an X-ray powder diffraction pattern comprising the specified peaks.

 Prior to filing this complaint, Celgene requested samples of Zydus’s Infringing ANDA Products

 to test; to date, Zydus has refused to provide such samples for testing.

          70.   On information and belief, if Zydus’s ANDA is approved, Zydus’s Infringing

 ANDA Products will be made, offered for sale, sold, or otherwise distributed in the United

 States, including in the State of New Jersey, or will be imported into the United States, including

 the State of New Jersey, by or through Zydus and its affiliates. Zydus will therefore directly

 infringe one or more claims of the ’173 Patent either literally or under the doctrine of

 equivalents. See 35 U.S.C. § 271(a).

          71.   On information and belief, Zydus knows that healthcare professionals or patients

 will use Zydus’s Infringing ANDA Products in accordance with the labeling sought by Zydus’s

 ANDA. On information and belief, the product label and product insert accompanying Zydus’s

 Infringing ANDA Products will include instructions that are substantially similar to the

 instructions found in the prescribing information for OTEZLA®, attached as Exhibit A, and

 which, if followed, will infringe the ’173 Patent. Zydus will therefore contribute to, or induce,

 the infringement of one or more claims of the ’173 Patent either literally or under the doctrine of

 equivalents. See 35 U.S.C. § 271(a), (b), and (c).

          72.   On information and belief, Zydus’s infringing activity, including the commercial

 manufacture, use, offer for sale, sale, or importation of Zydus’s Infringing ANDA Products




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 complained of herein, will begin immediately after the FDA approves Zydus’s ANDA. Any such

 conduct before the ’173 Patent expires will directly infringe, contribute to the infringement of, or

 induce the infringement of one or more claims of the ’173 Patent under one or more of 35 U.S.C.

 § 271(a), (b), and (c).

         73.     As a result of the foregoing facts, there is a real, substantial, and continuing

 justiciable controversy between Celgene and Zydus concerning liability for the infringement of

 the ’173 Patent for which this Court may grant declaratory relief consistent with Article III of the

 United States Constitution.

         74.     Celgene will be substantially and irreparably harmed by Zydus’s infringing

 activities unless those activities are enjoined by this Court. Celgene has no adequate remedy at

 law.

         75.     This case is exceptional, and Celgene is entitled to an award of attorneys’ fees

 under 35 U.S.C. § 285.

                                    REQUEST FOR RELIEF

 WHEREFORE, Celgene respectfully requests the following relief:

         (a)     The entry of a judgment, in favor of Celgene and against Zydus, that Zydus’s

 submission of ANDA No. 211859 to the FDA seeking approval for the commercial manufacture,

 use, offer for sale, or sale in the United States, or importation into the United States, of Zydus’s

 Infringing ANDA Products before the expiration of the Patents-in-Suit was an act of

 infringement of one or more claims of the Patents-in-Suit under 35 U.S.C. § 271(e)(2)(A);

         (b)     The entry of a declaratory judgment, in favor of Celgene and against Zydus,

 declaring that Zydus’s commercial manufacture, use, offer for sale, or sale in the United States,

 or importation into the United States, of Zydus’s Infringing ANDA Products, or inducing or




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 contributing to such conduct, would constitute infringement of one or more claims of the

 Patents-in-Suit by Zydus under one or more of 35 U.S.C. § 271(a), (b), and (c);

         (c)    The entry of a judgment declaring that the Patents-in-Suit remain valid and

 enforceable;

         (d)    The entry of preliminary and permanent injunctions enjoining Zydus and its

 officers, directors, agents, servants, employees, parents, subsidiaries, affiliates, other related

 business entities, and all other persons and entities acting in concert, participation, or in privity

 with Zydus, and their successors or assigns, from commercially manufacturing, using, offering to

 sell, or selling Zydus’s Infringing ANDA Products within the United States, or importing

 Zydus’s Infringing ANDA Products into the United States, or inducing or contributing to such

 conduct, until the last of the expiration dates of the Patents-in-Suit, including any extensions or

 regulatory exclusivities, or any later expiration of exclusivity to which Celgene is or becomes

 entitled;

         (e)    The entry of a permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B),

 enjoining Zydus and its officers, directors, agents, servants, employees, parents, subsidiaries,

 affiliates, other related business entities, and all other persons and entities acting in concert,

 participation, or in privity with Zydus, and their successors or assigns, from commercially

 manufacturing, using, offering to sell, or selling Zydus’s Infringing ANDA Products within the

 United States, or importing Zydus’s Infringing ANDA Products into the United States, or

 inducing or contributing to such conduct, until the last of the expiration dates of the Patents-in-

 Suit, including any extensions or regulatory exclusivities, or any later expiration of exclusivity to

 which Celgene is or becomes entitled;




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         (f)     The entry of an order, pursuant to 35 U.S.C. § 271(e)(4)(A), that the effective date

 of any FDA approval of ANDA No. 211859 shall be a date that is not earlier than the last of the

 expiration dates of the Patents-in-Suit, including any extensions or regulatory exclusivities, or

 any later expiration of exclusivity to which Celgene is or becomes entitled;

         (g)     A declaration under 28 U.S.C. § 2201 that if Zydus, its officers, directors, agents,

 servants, employees, representatives, attorneys, parents, subsidiaries, affiliates, other related

 business entities, or other persons or entities acting or attempting to act in concert, participation,

 or in privity with Zydus, or acting on Zydus’s behalf, engage in the commercial manufacture,

 use, offer for sale, or sale in the United States, or importation into the United States, of Zydus’s

 Infringing ANDA Products, then it will constitute an act of direct or indirect infringement of the

 Patents-in-Suit;

         (h)     An award of damages or other relief, pursuant to 35 U.S.C. § 271(e)(4)(C), if

 Zydus engages in the commercial manufacture, use, offer for sale, sale, or importation of

 Zydus’s Infringing ANDA Products, or any product that infringes the Patents-in-Suit, or induces

 or contributes to such conduct, prior to the expiration of such patents, including any extensions

 or regulatory exclusivities;

         (i)     The entry of judgment declaring that Zydus’s acts render this case an exceptional

 case and awarding Celgene its attorneys’ fees pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

         (j)     An award to Celgene of its costs and expenses in this action; and

         (k)     Such other and further relief this Court deems just and proper.




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 Dated: October 8, 2019                By: s/ Charles M. Lizza
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         CERTIFICATION PURSUANT TO LOCAL CIVIL RULES 11.2 & 40.1

        Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matters captioned

 Celgene Corporation v. Sandoz Inc., Civil Action No. 18-11026 (MAS)(DEA)(consolidated),

 Celgene Corporation v. Mankind Pharma Ltd., Civil Action No. 18-11081 (MAS)(DEA),

 Celgene Corporation v. Torrent Pharmaceuticals Ltd., Civil Action No. 18-11156 (MAS)(DEA),

 Celgene Corporation v. Shilpa Medicare Ltd., Civil Action No. 18-11157 (MAS)(DEA),

 Celgene Corporation v. Macleods Pharmaceuticals Ltd., Civil Action No. 18-11212

 (MAS)(DEA), Celgene Corporation v. MSN Laboratories Private Ltd., Civil Action No. 18-

 11213 (MAS)(DEA), Celgene Corporation v. Teva Pharmaceuticals USA, Inc., et al., Civil

 Action No. 18-11215 (MAS)(DEA), Celgene Corporation v. Prinston Pharmaceutical Inc., Civil

 Action No. 18-11216 (MAS)(DEA), Celgene Corporation v. Emcure Pharmaceuticals Ltd., et

 al., Civil Action No. 18-11218 (MAS)(DEA), Celgene Corporation v. Aurobindo Pharma Ltd.,

 et al., Civil Action No. 18-11219 (MAS)(DEA), Celgene Corporation v. Annora Pharma Private

 Ltd., et al., Civil Action No. 18-11220 (MAS)(DEA), Celgene Corporation v. Cipla Limited,

 Civil Action No. 18-11262 (MAS)(DEA), Celgene Corporation v. Alkem Laboratories Ltd.,

 Civil Action No. 18-11265 (MAS)(DEA), Celgene Corporation v. Unichem Laboratories, Ltd.,

 Civil Action No. 18-11268 (MAS)(DEA), Celgene Corporation v. Dr. Reddy’s Laboratories,

 Inc., et al., Civil Action No. 18-11269 (MAS)(DEA), Celgene Corporation v. Amneal

 Pharmaceuticals LLC, Civil Action No. 18-11358 (MAS)(DEA), and Celgene Corporation v.

 Pharmascience Inc., Civil Action No. 18-11545 (MAS)(DEA) are related to the matter in

 controversy because the matter in controversy involves the same plaintiff, some of the same

 patents, and defendants seeking FDA approval to market generic versions of the same

 pharmaceutical product.




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        I further certify that the matter captioned Celgene Corporation v. Zydus Pharmaceuticals

 (USA) Inc., Civil Action No. 18-11267 (MAS)(DEA) is related to the matter in controversy

 because the matter in controversy involves the same plaintiff and defendant seeking FDA

 approval to market the same generic pharmaceutical product.

        I further certify that, to the best of my knowledge, the matter in controversy is not the

 subject of any other action pending in any court or of any pending arbitration or administrative

 proceeding.




 Dated: October 8, 2019                         By: s/ Charles M. Lizza
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                  EXHIBIT A
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HIGHLIGHTS OF PRESCRIBING INFORMATION
                                                                                       -----------------------------CONTRAINDICATIONS------------------------------
These highlights do not include all the information needed to use OTEZLA
                                                                                       Known hypersensitivity to apremilast or any excipients in formulation (4)
safely and effectively. See full prescribing information for OTEZLA.
                                                                                       -----------------------WARNINGS AND PRECAUTIONS-----------------------
OTEZLA® (apremilast) tablets, for oral use
                                                                                        Diarrhea, Nausea, and Vomiting: Consider OTEZLA dose reduction or
Initial U.S. approval: 2014
                                                                                          suspension if patients develop severe diarrhea, nausea, or vomiting (5.1)
---------------------------RECENT MAJOR CHANGES---------------------------              Depression: Advise patients, their caregivers, and families to be alert for the
Indications and Usage (1.3)                                  07/2019                      emergence or worsening of depression, suicidal thoughts or other mood
Dosage and Administration (2.1)                              07/2019                      changes and if such changes occur to contact their healthcare provider.
Warnings and Precautions (5.2, 5.3)                          07/2019                      Carefully weigh risks and benefits of treatment with OTEZLA in patients
                                                                                          with a history of depression and/or suicidal thoughts or behavior (5.2)
                                                                                        Weight Decrease: Monitor weight regularly. If unexplained or clinically
---------------------------INDICATIONS AND USAGE---------------------------               significant weight loss occurs, evaluate weight loss and consider
OTEZLA, an inhibitor of phosphodiesterase 4 (PDE4), is indicated for the                  discontinuation of OTEZLA (5.3)
treatment of:                                                                           Drug Interactions: Use with strong cytochrome P450 enzyme inducers (e.g.,
      Adult patients with active psoriatic arthritis (1.1)                               rifampin, phenobarbital, carbamazepine, phenytoin) is not recommended
      Patients with moderate to severe plaque psoriasis who are candidates for           because loss of efficacy may occur (5.4, 7.1)
       phototherapy or systemic therapy (1.2)
      Adult patients with oral ulcers associated with Behçet’s Disease (1.3)          -------------------------------ADVERSE REACTIONS----------------------------
                                                                                        Psoriatic Arthritis: The most common adverse reactions (≥5%) are
-----------------------DOSAGE AND ADMINISTRATION----------------------                    diarrhea, nausea, and headache (6.1)
 To reduce risk of gastrointestinal symptoms, titrate to recommended dose of           Psoriasis: The most common adverse reactions (≥5%) are diarrhea, nausea,
   30 mg twice daily according to the following schedule (2.1)                            upper respiratory tract infection, and headache, including tension headache
    Day 1: 10 mg in morning                                                              (6.1)
    Day 2: 10 mg in morning and 10 mg in evening                                       Behçet’s Disease: The most common adverse reactions (≥10%) are diarrhea,
    Day 3: 10 mg in morning and 20 mg in evening                                         nausea, headache, and upper respiratory tract infection (6.1)
    Day 4: 20 mg in morning and 20 mg in evening
    Day 5: 20 mg in morning and 30 mg in evening                                      To report SUSPECTED ADVERSE REACTIONS, contact Celgene
    Day 6 and thereafter: 30 mg twice daily                                           Corporation at 1-888-423-5436 or FDA at 1-800-FDA-1088 or
 Dosage in Severe Renal Impairment:                                                   www.fda.gov/medwatch
    Recommended dose is 30 mg once daily (2.2)
    For initial dosage titration, titrate using only morning schedule listed in       --------------------------USE IN SPECIFIC POPULATIONS-------------------
       Table 1 and skip afternoon doses (2.2)                                          Severe Renal Impairment: Increased systemic exposure of OTEZLA has been
                                                                                       observed, reduction in dose to 30 mg once daily is recommended (2.2, 8.6)
----------------------DOSAGE FORMS AND STRENGTHS--------------------
Tablets: 10 mg, 20 mg, 30 mg (3)                                                       See 17 for PATIENT COUNSELING INFORMATION

                                                                                                                                                Revised: 07/2019




FULL PRESCRIBING INFORMATION: CONTENTS*                                                           8.4 Pediatric Use
1      INDICATIONS AND USAGE                                                                      8.5 Geriatric Use
       1.1 Psoriatic Arthritis                                                                    8.6 Renal Impairment
       1.2 Psoriasis                                                                              8.7 Hepatic Impairment
       1.3 Oral Ulcers Associated with Behçet’s Disease                                10         OVERDOSAGE
2      DOSAGE AND ADMINISTRATION                                                       11         DESCRIPTION
       2.1 Dosage in Psoriatic Arthritis, Psoriasis, and Behçet’s Disease              12         CLINICAL PHARMACOLOGY
       2.2 Dosage Adjustment in Patients with Severe Renal Impairment                             12.1 Mechanism of Action
3      DOSAGE FORMS AND STRENGTHS                                                                 12.3 Pharmacokinetics
4      CONTRAINDICATIONS                                                               13         NONCLINICAL TOXICOLOGY
5      WARNINGS AND PRECAUTIONS                                                                   13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
       5.1 Diarrhea, Nausea, and Vomiting                                              14         CLINICAL STUDIES
       5.2 Depression                                                                             14.1 Psoriatic Arthritis
       5.3 Weight Decrease                                                                        14.2 Psoriasis
       5.4 Drug Interactions                                                                      14.3 Oral Ulcers Associated with Behçet’s Disease
6      ADVERSE REACTIONS                                                               16         HOW SUPPLIED/STORAGE AND HANDLING
       6.1 Clinical Trials Experience                                                  17         PATIENT COUNSELING INFORMATION
7      DRUG INTERACTIONS
       7.1 Strong CYP450 Inducers
8      USE IN SPECIFIC POPULATIONS                                                     *Sections or subsections omitted from the full prescribing information are not
       8.1 Pregnancy                                                                   listed.
       8.2 Lactation




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FULL PRESCRIBING INFORMATION


1        INDICATIONS AND USAGE

1.1      Psoriatic Arthritis

OTEZLA is indicated for the treatment of adult patients with active psoriatic arthritis.

1.2      Psoriasis

OTEZLA is indicated for the treatment of patients with moderate to severe plaque psoriasis who are candidates for phototherapy or systemic
therapy.

1.3      Oral Ulcers Associated with Behçet’s Disease

OTEZLA is indicated for the treatment of adult patients with oral ulcers associated with Behçet’s Disease.

2        DOSAGE AND ADMINISTRATION

2.1      Dosage in Psoriatic Arthritis, Psoriasis, and Behçet’s Disease

The recommended initial dosage titration of OTEZLA from Day 1 to Day 5 is shown in Table 1. Following the 5-day titration, the
recommended maintenance dosage is 30 mg twice daily taken orally starting on Day 6. This titration is intended to reduce the gastrointestinal
symptoms associated with initial therapy.

OTEZLA can be administered without regard to meals. Do not crush, split, or chew the tablets.

                                          Table 1: Dosage Titration Schedule

                                                                                                       Day 6
      Day 1          Day 2             Day 3               Day 4               Day 5                & thereafter
       AM      AM        PM        AM        PM        AM        PM        AM        PM          AM             PM
      10 mg   10 mg     10 mg     10 mg     20 mg     20 mg     20 mg     20 mg     30 mg       30 mg          30 mg

2.2      Dosage Adjustment in Patients with Severe Renal Impairment

OTEZLA dosage should be reduced to 30 mg once daily in patients with severe renal impairment (creatinine clearance (CLcr) of less than
30 mL per minute estimated by the Cockcroft–Gault equation) [see Use in Specific Populations (8.6) and Clinical Pharmacology (12.3)].
For initial dosage titration in this group, it is recommended that OTEZLA be titrated using only the AM schedule listed in Table 1 and the
PM doses be skipped.

3        DOSAGE FORMS AND STRENGTHS

OTEZLA is available as diamond shaped, film coated tablets in the following dosage strengths:
    10-mg pink tablet engraved with “APR” on one side and “10” on the other side
    20-mg brown tablet engraved with “APR” on one side and “20” on the other side
    30-mg beige tablet engraved with “APR” on one side and “30” on the other side.

4        CONTRAINDICATIONS

OTEZLA is contraindicated in patients with a known hypersensitivity to apremilast or to any of the excipients in the formulation [see
Adverse Reactions (6.1)].




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5        WARNINGS AND PRECAUTIONS

5.1      Diarrhea, Nausea, and Vomiting

There have been postmarketing reports of severe diarrhea, nausea, and vomiting associated with the use of OTEZLA. Most events occurred
within the first few weeks of treatment. In some cases, patients were hospitalized. Patients 65 years of age or older and patients taking
medications that can lead to volume depletion or hypotension may be at a higher risk of complications from severe diarrhea, nausea, or
vomiting. Monitor patients who are more susceptible to complications of diarrhea or vomiting. Patients who reduced dosage or discontinued
OTEZLA generally improved quickly. Consider OTEZLA dose reduction or suspension if patients develop severe diarrhea, nausea, or
vomiting.

5.2      Depression

Treatment with OTEZLA is associated with an increase in adverse reactions of depression. Before using OTEZLA in patients with a history
of depression and/or suicidal thoughts or behavior prescribers should carefully weigh the risks and benefits of treatment with OTEZLA in
such patients. Patients, their caregivers, and families should be advised of the need to be alert for the emergence or worsening of depression,
suicidal thoughts or other mood changes, and if such changes occur to contact their healthcare provider. Prescribers should carefully evaluate
the risks and benefits of continuing treatment with OTEZLA if such events occur.

Psoriatic arthritis: During the 0 to 16 week placebo-controlled period of the 3 controlled clinical trials, 1.0% (10/998) of subjects treated
with OTEZLA reported depression or depressed mood compared to 0.8% (4/495) treated with placebo. During the clinical trials, 0.3%
(4/1441) of subjects treated with OTEZLA discontinued treatment due to depression or depressed mood compared with none in placebo
treated subjects (0/495). Depression was reported as serious in 0.2% (3/1441) of subjects exposed to OTEZLA, compared to none in placebo-
treated subjects (0/495). Instances of suicidal ideation and behavior have been observed in 0.2% (3/1441) of subjects while receiving
OTEZLA, compared to none in placebo treated subjects (0/495). In the clinical trials, 2 subjects who received placebo committed suicide
compared to none in OTEZLA-treated subjects.

Psoriasis: During the 0 to 16 week placebo-controlled period of the 3 controlled clinical trials, 1.3% (12/920) of subjects treated with
OTEZLA reported depression compared to 0.4% (2/506) treated with placebo. During the clinical trials, 0.1% (1/1308) of subjects treated
with OTEZLA discontinued treatment due to depression compared with none in placebo-treated subjects (0/506). Depression was reported
as serious in 0.1% (1/1308) of subjects exposed to OTEZLA, compared to none in placebo-treated subjects (0/506). Instances of suicidal
behavior have been observed in 0.1% (1/1308) of subjects while receiving OTEZLA, compared to 0.2% (1/506) in placebo-treated subjects.
In the clinical trials, one subject treated with OTEZLA attempted suicide while one who received placebo committed suicide.

Behçet’s disease: During the placebo-controlled period of the phase 3 study, 1% (1/104) of patients treated with OTEZLA reported
depression/depressed mood compared to 1% (1/103) treated with placebo. None of these reports of depression was serious or led to study
discontinuation. No instances of suicidal ideation or behavior were reported during the placebo-controlled period of the phase 3 study in
patients treated with OTEZLA (0/104) or treated with placebo (0/103).

5.3      Weight Decrease

During the controlled period of the studies in psoriatic arthritis (PsA), weight decrease between 5%-10% of body weight was reported in
10% (49/497) of subjects treated with OTEZLA 30 mg twice daily compared to 3.3% (16/495) treated with placebo.

During the controlled period of the trials in psoriasis, weight decrease between 5%-10% of body weight occurred in 12% (96/784) of
subjects treated with OTEZLA compared to 5% (19/382) treated with placebo. Weight decrease of ≥10% of body weight occurred in 2%
(16/784) of subjects treated with OTEZLA 30 mg twice daily compared to 1% (3/382) subjects treated with placebo.

During the controlled period of the phase 3 study in Behçet’s disease, weight decrease >5% of body weight was reported in 4.9% (5/103)
of subjects treated with OTEZLA 30 mg twice daily compared to 3.9% (4/102) patients treated with placebo.

Patients treated with OTEZLA should have their weight monitored regularly. If unexplained or clinically significant weight loss occurs,
weight loss should be evaluated, and discontinuation of OTEZLA should be considered [see Adverse Reactions (6.1)].

5.4      Drug Interactions

Co-administration of strong cytochrome P450 enzyme inducer, rifampin, resulted in a reduction of systemic exposure of apremilast, which
may result in a loss of efficacy of OTEZLA. Therefore, the use of cytochrome P450 enzyme inducers (e.g., rifampin, phenobarbital,
carbamazepine, phenytoin) with OTEZLA is not recommended [see Drug Interactions (7.1) and Clinical Pharmacology (12.3)].

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6         ADVERSE REACTIONS

The following adverse reactions are described elsewhere in the labeling:

     Diarrhea, Nausea, and Vomiting [see Warnings and Precautions (5.1)]
     Depression [see Warnings and Precautions (5.2)]
     Weight Decrease [see Warnings and Precautions (5.3)]
     Drug Interactions [see Warnings and Precautions (5.4)]

6.1       Clinical Trials Experience

Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the clinical trials of a drug cannot
be directly compared to rates in the clinical trials of another drug and may not reflect the rates observed in clinical practice.

Psoriatic Arthritis Clinical Trials
OTEZLA was evaluated in 3 multicenter, randomized, double-blind, placebo-controlled trials [Studies PsA-1, PsA-2, and PsA-3] of similar
design in adult patients with active psoriatic arthritis [see Clinical Studies (14.1)]. Across the 3 studies, there were 1493 patients randomized
equally to placebo, OTEZLA 20 mg twice daily or OTEZLA 30 mg twice daily. Titration was used over the first 5 days [see Dosage and
Administration (2.1)]. Placebo patients whose tender and swollen joint counts had not improved by at least 20% were re-randomized 1:1 in
a blinded fashion to either OTEZLA 20 mg twice daily or 30 mg twice daily at week 16 while OTEZLA patients remained on their initial
treatment. Patients ranged in age from 18 to 83 years, with an overall median age of 51 years.

The majority of the most common adverse reactions presented in Table 2 occurred within the first 2 weeks of treatment and tended to resolve
over time with continued dosing. Diarrhea, headache, and nausea were the most commonly reported adverse reactions. The most common
adverse reactions leading to discontinuation for patients taking OTEZLA were nausea (1.8%), diarrhea (1.8%), and headache (1.2%). The
proportion of patients with psoriatic arthritis who discontinued treatment due to any adverse reaction was 4.6% for patients taking OTEZLA
30 mg twice daily and 1.2% for placebo-treated patients.

                 Table 2: Adverse Reactions Reported in ≥2% of Patients on OTEZLA 30 mg Twice Daily and ≥1%
                             Than That Observed in Patients on Placebo for up to Day 112 (Week 16)

                                                            Placebo                              OTEZLA 30 mg BID
                                              Day 1 to 5       Day 6 to Day 112           Day 1 to 5         Day 6 to Day 112
                                               (N=495)             (N=490)                 (N=497)               (N=493)
                   Preferred Term               n (%)c              n (%)                   n (%)                 n (%)
              Diarrheaa                         6 (1.2)              8 (1.6)               46 (9.3)               38 (7.7)
                     a
              Nausea                            7 (1.4)             15 (3.1)               37 (7.4)               44 (8.9)
              Headachea                         9 (1.8)             11 (2.2)               24 (4.8)               29 (5.9)
              Upper respiratory tract           3 (0.6)              9 (1.8)                3 (0.6)               19 (3.9)
              infectionb
              Vomitinga                         2 (0.4)              2 (0.4)                4 (0.8)               16 (3.2)
              Nasopharyngitisb                  1 (0.2)              8 (1.6)                1 (0.2)               13 (2.6)
                                     b
              Abdominal pain upper               0 (0.0)             1 (0.2)                3 (0.6)              10 (2.0)
             a
               Of the reported gastrointestinal adverse reactions, 1 subject experienced a serious adverse reaction of nausea and
             vomiting in OTEZLA 30 mg twice daily; 1 subject treated with OTEZLA 20 mg twice daily experienced a serious
             adverse reaction of diarrhea; 1 patient treated with OTEZLA 30 mg twice daily experienced a serious adverse
             reaction of headache.
             b
               Of the reported adverse drug reactions none were serious.
             c
               n (%) indicates number of patients and percent.

Other adverse reactions reported in patients on OTEZLA in clinical studies including extension studies:
Immune system disorders: Hypersensitivity
Investigations: Weight decrease
Gastrointestinal Disorders: Frequent bowel movement, gastroesophageal reflux disease, dyspepsia
Metabolism and Nutrition Disorders: Decreased appetite*
                                                                   4
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Nervous System Disorders: Migraine
Respiratory, Thoracic, and Mediastinal Disorders: Cough
Skin and Subcutaneous Tissue Disorders: Rash
*1 patient treated with OTEZLA 30 mg twice daily experienced a serious adverse reaction.

Psoriasis Clinical Trials
The safety of OTEZLA was assessed in 1426 subjects in 3 randomized, double-blind, placebo-controlled trials in adult subjects with
moderate to severe plaque psoriasis who were candidates for phototherapy or systemic therapy. Subjects were randomized to receive
OTEZLA 30 mg twice daily or placebo twice daily. Titration was used over the first 5 days [see Dosage and Administration (2.1)]. Subjects
ranged in age from 18 to 83 years, with an overall median age of 46 years.

Diarrhea, nausea, and upper respiratory tract infection were the most commonly reported adverse reactions. The most common adverse
reactions leading to discontinuation for subjects taking OTEZLA were nausea (1.6%), diarrhea (1.0%), and headache (0.8%). The proportion
of subjects with psoriasis who discontinued treatment due to any adverse reaction was 6.1% for subjects treated with OTEZLA 30 mg twice
daily and 4.1% for placebo-treated subjects.

               Table 3: Adverse Reactions Reported in ≥1% of Subjects on OTEZLA and With Greater Frequency
                                    Than in Subjects on Placebo; up to Day 112 (Week 16)

                                                       Placebo (N=506)                  OTEZLA 30 mg BID (N=920)
           Preferred Term                                    n (%)                                   n (%)
           Diarrhea                                          32 (6)                                 160 (17)
           Nausea                                            35 (7)                                 155 (17)
           Upper respiratory tract infection                 31 (6)                                  84 (9)
           Tension headache                                  21 (4)                                  75 (8)
           Headache                                          19 (4)                                  55 (6)
           Abdominal pain*                                   11 (2)                                  39 (4)
           Vomiting                                           8 (2)                                  35 (4)
           Fatigue                                            9 (2)                                  29 (3)
           Dyspepsia                                          6 (1)                                  29 (3)
           Decreased appetite                                 5 (1)                                  26 (3)
           Insomnia                                           4 (1)                                  21 (2)
           Back pain                                          4 (1)                                  20 (2)
           Migraine                                           5 (1)                                  19 (2)
           Frequent bowel movements                           1 (0)                                  17 (2)
           Depression                                         2 (0)                                  12 (1)
           Bronchitis                                         2 (0)                                  12 (1)
           Tooth abscess                                      0 (0)                                  10 (1)
           Folliculitis                                       0 (0)                                   9 (1)
           Sinus headache                                     0 (0)                                   9 (1)
          *Two subjects treated with OTEZLA experienced serious adverse reaction of abdominal pain.

Severe worsening of psoriasis (rebound) occurred in 0.3% (4/1184) subjects following discontinuation of treatment with OTEZLA.

Behçet’s Disease Clinical Trials
OTEZLA was evaluated in a Phase 3, multicenter, randomized, placebo-controlled study (BCT-002) in adult patients with Behçet’s Disease
(BD) with active oral ulcers. A total of 207 patients were randomized to receive OTEZLA 30 mg twice daily or placebo twice daily. Titration
was used over the first 5 days [see Dosage and Administration (2.1)]. After Week 12, all patients received treatment with OTEZLA 30 mg
twice daily. Patients ranged in age from 19 to 72, with a mean age of 40 years.

Diarrhea, nausea, headache, and upper respiratory tract infection were the most commonly reported adverse reactions. The proportion of
patients with BD who discontinued treatment due to any adverse reaction during the placebo-controlled period of the study, was 2.9% for
patients treated with OTEZLA 30 mg twice daily and 4.9% for placebo-treated patients.




                                                                    5
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                          Table 4: Adverse Reactions Reported in ≥5% of Patients on OTEZLA and with at least 1%
                                        Greater Frequency than Patients on Placebo; up to Week 12

                                                                                       Placebo     OTEZLA 30 mg twice daily
                        Preferred Term                                                 (N=103)           (N=104)
                                                                                        n (%)              n (%)
                        Diarrheaa                                                      21 (20.4)         43 (41.3)
                        Nauseaa                                                        11 (10.7)         20 (19.2)
                        Headache                                                       11 (10.7)         15 (14.4)
                        Upper respiratory tract infection                               5 (4.9)          12 (11.5)
                        Abdominal pain upper                                            2 (1.9)           9 (8.7)
                        Vomitinga                                                       2 (1.9)           9 (8.7)
                        Back pain                                                       6 (5.8)           8 (7.7)
                        Viral upper respiratory tract infection                         5 (4.9)           7 (6.7)
                        Arthralgia                                                      3 (2.9)           6 (5.8)
                    a
                        There were no serious adverse reactions of diarrhea, nausea or vomiting.

7        DRUG INTERACTIONS
7.1      Strong CYP450 Inducers
Apremilast exposure is decreased when OTEZLA is co-administered with strong CYP450 inducers (such as rifampin) and may result in
loss of efficacy [see Warnings and Precautions (5.3) and Clinical Pharmacology (12.3)].

8        USE IN SPECIFIC POPULATIONS

8.1     Pregnancy

Pregnancy Exposure Registry
There is a pregnancy exposure registry that monitors pregnancy outcomes in women exposed to OTEZLA during pregnancy. Information
about the registry can be obtained by calling 1-877-311-8972 or visiting https://mothertobaby.org/ongoing-study/otezla/.

Risk Summary
Available pharmacovigilance data with OTEZLA use in pregnant women have not established a drug-associated risk of major birth
defects, miscarriage or adverse maternal or fetal outcomes, but these data are extremely limited. Based on findings from animal
reproduction studies, OTEZLA may increase the risk for fetal loss. In animal embryo-fetal development studies, the administration of
apremilast to pregnant cynomolgus monkeys during organogenesis resulted in dose-related increases in abortion/embryo-fetal death at
dose exposures 2.1-times the maximum recommended human therapeutic dose (MRHD) and no adverse effect at an exposure of 1.4-times
the MRHD. When administered to pregnant mice, during organogenesis there were no apremilast-induced malformations up to exposures
4.0-times the MRHD (see Data). Advise pregnant women of the potential risk of fetal loss. Consider pregnancy planning and prevention
for females of reproductive potential.

The estimated background risk of major birth defects and miscarriage for the indicated populations is unknown. All pregnancies have a
background risk of birth defect, loss, or other adverse outcomes. In the U.S. general population, the estimated background risk of major
birth defects and miscarriage in clinically recognized pregnancies is 2-4% and 15-20%, respectively.

Data
Animal Data
In an embryo-fetal developmental study, pregnant cynomolgus monkeys were administered apremilast at doses of 20, 50, 200, or
1000 mg/kg/day during the period of organogenesis (gestation Days 20 through 50). There was a dose-related increase in spontaneous
abortions, with most abortions occurring during Weeks 3 to 4 of dosing in the first trimester, at doses approximately 2.1-times the MRHD
and greater (on an area under the curve [AUC] basis at doses ≥50 mg/kg/day). No abortifacient effects were observed at a dose
approximately 1.4-times the MRHD (on an AUC basis at a dose of 20 mg/kg/day). Although, there was no evidence for a teratogenic
effect at doses of 20 mg/kg/day and greater when examined at day 100, aborted fetuses were not examined.

In an embryo-fetal development study in mice, apremilast was administered at doses of 250, 500, or 750 mg/kg/day to dams during
organogenesis (gestation Day 6 through 15). In a combined fertility and embryo-fetal development study in mice, apremilast was
administered at doses of 10, 20, 40, or 80 mg/kg/day starting 15 days before cohabitation and continuing through gestation Day 15. No
teratogenic findings attributed to apremilast were observed in either study; however, there was an increase in postimplantation loss at
doses corresponding to a systemic exposure of 2.3-times the MRHD and greater (≥20 mg/kg/day). At doses of ≥20 mg/kg/day skeletal
variations included incomplete ossification sites of tarsals, skull, sternebra, and vertebrae. No effects were observed at a dose
                                                                         6
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approximately 1.3-times the MRHD (10 mg/kg/day).

Apremilast distributed across the placenta into the fetal compartment in mice and monkeys.

In a pre- and postnatal study in mice, apremilast was administered to pregnant female mice at doses of 10, 80, or 300 mg/kg/day from
Day 6 of gestation through Day 20 of lactation, with weaning on Day 21. Dystocia, reduced viability, and reduced birth weights occurred
at doses corresponding to ≥4.0-times the MRHD (on an AUC basis at doses ≥80 mg/kg/day). No adverse effects occurred at a dose 1.3-
times the MRHD (10 mg/kg/day). There was no evidence for functional impairment of physical development, behavior, learning ability,
immune competence, or fertility in the offspring at doses up to 7.5-times the MRHD (on an AUC basis at a dose of 300 mg/kg/day).

8.2 Lactation

Risk Summary
There are no data on the presence of apremilast in human milk, the effects on the breastfed infant, or the effects on milk production.
However, apremilast was detected in the milk of lactating mice. When a drug is present in animal milk, it is likely that the drug will be
present in human milk. The developmental and health benefits of breastfeeding should be considered along with the mother’s clinical
need for OTEZLA and any potential adverse effects on the breastfed infant from OTEZLA or from the underlying maternal condition.

Data
In mice, following a single oral administration of 10 mg/kg to dams on postpartum day 13, apremilast concentrations in milk were
approximately 1.5-times that of simultaneously collected blood samples.

8.4      Pediatric Use

The safety and effectiveness of OTEZLA in pediatric patients less than18 years of age have not been established.

8.5      Geriatric Use

Of the 1493 subjects who enrolled in Studies PsA-1, PsA-2, and PsA-3 a total of 146 psoriatic arthritis subjects were 65 years of age and
older, including 19 subjects 75 years and older. No overall differences were observed in the safety profile of elderly subjects ≥65 years of
age and younger adult subjects <65 years of age in the clinical studies.

Of the 1257 subjects who enrolled in two placebo-controlled psoriasis trials (PSOR 1 and PSOR 2), a total of 108 psoriasis subjects were
65 years of age and older, including 9 subjects who were 75 years of age and older. No overall differences were observed in the efficacy
and safety in elderly subjects ≥65 years of age and younger adult subjects <65 years of age in the clinical trials.

8.6      Renal Impairment

Apremilast pharmacokinetics were characterized in subjects with mild, moderate, and severe renal impairment as defined by a creatinine
clearance of 60-89, 30-59, and less than 30 mL per minute, respectively, by the Cockcroft–Gault equation. While no dose adjustment is
needed in patients with mild or moderate renal impairment, the dose of OTEZLA should be reduced to 30 mg once daily in patients with
severe renal impairment [see Dosage and Administration (2.2) and Clinical Pharmacology (12.3)].

8.7      Hepatic Impairment

Apremilast pharmacokinetics were characterized in subjects with moderate (Child Pugh B) and severe (Child Pugh C) hepatic impairment.
No dose adjustment is necessary in these patients.

10       OVERDOSAGE

In case of overdose, patients should seek immediate medical help. Patients should be managed by symptomatic and supportive care should
there be an overdose.

11       DESCRIPTION

The active ingredient in OTEZLA tablets is apremilast. Apremilast is a phosphodiesterase 4 (PDE4) inhibitor. Apremilast is known
chemically as N-[2-[(1S)-1-(3-ethoxy-4-methoxyphenyl)-2-(methylsulfonyl)ethyl]-2,3-dihydro-1,3-dioxo-1H-isoindol-4-yl]acetamide. Its
empirical formula is C22H24N2O7S and the molecular weight is 460.5.


                                                                     7
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The chemical structure is:


                                 O

                                      O
                        O

                          N      H
                                     S O
           O     NH     O             O




OTEZLA tablets are supplied in 10-, 20-, and 30-mg strengths for oral administration. Each tablet contains apremilast as the active ingredient
and the following inactive ingredients: lactose monohydrate, microcrystalline cellulose, croscarmellose sodium, magnesium stearate,
polyvinyl alcohol, titanium dioxide, polyethylene glycol, talc, iron oxide red, iron oxide yellow (20 and 30 mg only) and iron oxide black
(30 mg only).

12       CLINICAL PHARMACOLOGY

12.1     Mechanism of Action

Apremilast is an oral small-molecule inhibitor of phosphodiesterase 4 (PDE4) specific for cyclic adenosine monophosphate (cAMP). PDE4
inhibition results in increased intracellular cAMP levels. The specific mechanism(s) by which apremilast exerts its therapeutic action is not
well defined.

12.3     Pharmacokinetics

Absorption
Apremilast when taken orally is absorbed with an absolute bioavailability of ~73%, with peak plasma concentrations (Cmax) occurring at a
median time (tmax) of ~2.5 hours. Co-administration with food does not alter the extent of absorption of apremilast.

Distribution
Human plasma protein binding of apremilast is approximately 68%. Mean apparent volume of distribution (Vd) is 87 L.

Metabolism
Following oral administration in humans, apremilast is a major circulating component (45%) followed by inactive metabolite M12 (39%),
a glucuronide conjugate of O-demethylated apremilast. It is extensively metabolized in humans with up to 23 metabolites identified in
plasma, urine and feces. Apremilast is metabolized by both cytochrome (CYP) oxidative metabolism with subsequent glucuronidation and
non-CYP mediated hydrolysis. In vitro, CYP metabolism of apremilast is primarily mediated by CYP3A4, with minor contributions from
CYP1A2 and CYP2A6.

Elimination
The plasma clearance of apremilast is about 10 L/hr in healthy subjects, with a terminal elimination half-life of approximately 6-9 hours.
Following oral administration of radio-labeled apremilast, about 58% and 39% of the radioactivity is recovered in urine and feces,
respectively, with about 3% and 7% of the radioactive dose recovered as apremilast in urine and feces, respectively.

Specific Populations
Hepatic Impairment: The pharmacokinetics of apremilast is not affected by moderate or severe hepatic impairment.

Renal Impairment: The pharmacokinetics of apremilast is not affected by mild or moderate renal impairment. In 8 subjects with severe
renal impairment administered a single dose of 30 mg apremilast, the AUC and Cmax of apremilast increased by approximately 88% and
42%, respectively [see Dosage and Administration (2.2) and Use in Specific Populations (8.6)].

Age: A single oral dose of 30-mg apremilast was studied in young adults and elderly healthy subjects. The apremilast exposure in elderly
subjects (65 to 85 years of age) was about 13% higher in AUC and about 6% higher in Cmax than in young subjects (18 to 55 years of age)
[see Use in Specific Populations (8.5)].


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Gender: In pharmacokinetic studies in healthy volunteers, the extent of exposure in females was about 31% higher and Cmax was about 8%
higher than that in male subjects.

Race and Ethnicity: The pharmacokinetics of apremilast in Chinese and Japanese healthy male subjects is comparable to that in Caucasian
healthy male subjects. In addition, apremilast exposure is similar among Hispanic Caucasians, non-Hispanic Caucasians, and African
Americans.

Drug Interactions
In vitro data: Apremilast is not an inhibitor of CYP1A2, CYP2A6, CYP2B6, CYP2C8, CYP2C9, CYP2C19, CYP2D6, CYP2E1, or
CYP3A4 and not an inducer of CYP1A2, CYP2B6, CYP2C9, CYP2C19, or CYP3A4. Apremilast is a substrate, but not an inhibitor of P-
glycoprotein (P-gp) and is not a substrate or an inhibitor of organic anion transporter (OAT)1 and OAT3, organic cation transporter (OCT)2,
organic anion transporting polypeptide (OATP)1B1 and OATP1B3, or breast cancer resistance protein (BCRP).

Drug interaction studies were performed with apremilast and CYP3A4 substrates (oral contraceptive containing ethinyl estradiol and
norgestimate), CYP3A and P-gp inhibitor (ketoconazole), CYP450 inducer (rifampin) and frequently co-administered drug in this patient
population (methotrexate).

No significant pharmacokinetic interactions were observed when 30-mg oral apremilast was administered with either oral contraceptive,
ketoconazole, or methotrexate. Co-administration of the CYP450 inducer rifampin (600 mg once daily for 15 days) with a single oral dose
of 30-mg apremilast resulted in reduction of apremilast AUC and Cmax by 72% and 43%, respectively [see Warnings and Precautions (5.3)
and Drug Interactions (7.1)].

13       NONCLINICAL TOXICOLOGY

13.1     Carcinogenesis, Mutagenesis, Impairment of Fertility

Long-term studies were conducted in mice and rats with apremilast to evaluate its carcinogenic potential. No evidence of apremilast-induced
tumors was observed in mice at oral doses up to 8.8-times the Maximum Recommended Human Dose (MRHD) on an AUC basis (1000
mg/kg/day) or in rats at oral doses up to approximately 0.08- and 1.1-times the MRHD, (20 mg/kg/day in males and 3 mg/kg/day in females,
respectively).

Apremilast tested negative in the Ames assay, in vitro chromosome aberration assay of human peripheral blood lymphocytes, and the in
vivo mouse micronucleus assay.

In a fertility study of male mice, apremilast at oral doses up to approximately 3-times the MRHD based on AUC (up to 50 mg/kg/day)
produced no effects on male fertility. In a fertility study of female mice, apremilast was administered at oral doses of 10, 20, 40, or
80 mg/kg/day. At doses ≥1.8-times the MRHD (≥20 mg/kg/day), estrous cycles were prolonged, due to lengthening of diestrus which
resulted in a longer interval until mating. Mice that became pregnant at doses of 20 mg/kg/day and greater also had increased incidences of
early postimplantation losses. There was no effect of apremilast approximately 1.0-times the MRHD (10 mg/kg/day).

14       CLINICAL STUDIES

14.1     Psoriatic Arthritis

The safety and efficacy of OTEZLA was evaluated in 3 multicenter, randomized, double-blind, placebo-controlled trials (Studies PsA-1,
PsA-2, and PsA-3) of similar design. A total of 1493 adult patients with active PsA (≥3 swollen joints and ≥3 tender joints) despite prior or
current treatment with disease-modifying antirheumatic drug (DMARD) therapy were randomized. Patients enrolled in these studies had a
diagnosis of PsA for at least 6 months. One qualifying psoriatic skin lesion of at least 2 cm in diameter was required in Study PsA- 3.
Previous treatment with a biologic, including TNF-blockers was allowed (up to 10% could be TNF-blocker therapeutic failures). Across
the 3 studies, patients were randomly assigned to placebo (n=496), OTEZLA 20 mg (n=500), or OTEZLA 30 mg (n=497) given orally
twice daily. Titration was used over the first 5 days [see Dosage and Administration (2.1)]. Patients were allowed to receive stable doses
of concomitant methotrexate [MTX (≤25 mg/week)], sulfasalazine [SSZ (≤2 g/day)], leflunomide [LEF (≤20 mg/day)], low dose oral
corticosteroids (equivalent to ≤10 mg of prednisone a day), and/or nonsteroidal anti-inflammatory drugs (NSAIDs) during the trial.
Treatment assignments were stratified based on small-molecule DMARD use at baseline in Studies PsA-1, PsA-2 and PsA-3. There was an
additional stratification of BSA >3% with psoriasis in study PsA-3. The patients who were therapeutic failures of >3 agents for PsA (small
molecules or biologics), or >1 biologic TNF blocker were excluded.

The primary endpoint was the percentage of patients achieving American College of Rheumatology (ACR) 20 response at Week 16.
Placebo-controlled efficacy data were collected and analyzed through Week 24. Patients whose tender and swollen joint counts had not
improved by at least 20% were considered non-responders at Week 16. Placebo non-responders were re-randomized 1:1 in a blinded fashion
                                                                     9
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to either OTEZLA 20 mg twice daily or 30 mg twice daily following the titration schema [see Dosage and Administration (2.1)]. OTEZLA
patients remained on their initial treatment. At Week 24, all remaining placebo patients were re-randomized to either 20 mg twice daily or
30 mg twice daily.

Patients with subtypes of PsA were enrolled across the 3 studies, including symmetric polyarthritis (62.0%), asymmetric oligoarthritis
(27.0%), distal interphalangeal (DIP) joint arthritis (6.0%), arthritis mutilans (3.0%), and predominant spondylitis (2.1%). The median
duration of PsA disease was 5 years. Patients received concomitant therapy with at least one DMARD (65.0%), MTX (55.0%), SSZ (9.0%),
LEF (7.0%), low dose oral corticosteroids (14.0%), and NSAIDs (71.0%). Prior treatment with small-molecule DMARDs only was reported
in 76.0% of patients and prior treatment with biologic DMARDs was reported in 22.0% of patients, which includes 9.0% who had failed
prior biologic DMARD treatment.

Clinical Response in Patients with Psoriatic Arthritis

The percent of patients achieving ACR 20, 50 and 70 responses in Studies PsA-1, PsA-2, and PsA-3 are presented in Table 5 below.
OTEZLA ± DMARDs, compared with Placebo ± DMARDs resulted in a greater improvement in signs and symptoms of psoriatic arthritis
as demonstrated by the proportion of patients with an ACR 20 response at Week 16.

             Table 5: Proportion of Patients With ACR Responses in Studies PsA-1, PsA-2 and PsA-3

                                   PsA-1                             PsA-2                        PsA-3
                                        OTEZLA                            OTEZLA                       OTEZLA
                           Placebo       30 mg               Placebo       30 mg          Placebo       30 mg
                              ±       twice daily ±             ±       twice daily ±        ±       twice daily ±
                          DMARDs        DMARDs              DMARDs        DMARDs         DMARDs        DMARDs

     Na                     N=168            N=168            N=159           N=162          N=169        N=167
     ACR 20
       Week 16                19%             38% b            19%            32% b          18%          41% b

     ACR 50
      Week 16                 6%              16%                  5%          11%            8%           15%

     ACR 70
      Week 16                 1%               4%                  1%          1%             2%           4%
a
    N is number of randomized and treated patients.
b
    Statistically significantly different from placebo (p<0.05).

OTEZLA 30 mg twice daily resulted in improvement for each ACR component, compared to placebo at Week 16 in Study PsA-1
(Table 6). Consistent results were observed in Studies PsA-2 and PsA-3.

     Table 6: ACR Components Mean Change from Baseline at Week 16 in Study PsA- 1

                                                                             OTEZLA 30 mg
                                                          Placebo
                                                                               twice daily
                                                         (N*=168)
                                                                                (N*=168)
    Number of tender jointsa
       Sample Size                                          166                   164
       Baseline                                             23                    23
       Mean Change at Week 16                                -2                    -7
    Number of swollen jointsb
       Sample Size                                          166                   164
       Baseline                                             13                    13
       Mean Change at Week 16                                -2                    -5
    Patient’s assessment of painc
       Sample Size                                          165                   159
       Baseline                                             61                    58
       Mean Change at Week 16                                -6                   -14

                                                                        10
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  Patient’s global assessment of disease
  activityc
     Sample Size                                         165                    159
     Baseline                                             59                     56
     Mean Change at Week 16                               -3                    -10
  Physician’s global assessment of disease
  activityc
     Sample Size                                         158                    159
     Baseline                                             55                     56
     Mean Change at Week 16                               -8                    -19
  HAQ-DId score
     Sample Size                                         165                    159
     Baseline                                            1.2                     1.2
     Mean Change at Week 16                             -0.09                   -0.2
  CRPe
     Sample Size                                         166                    167
     Baseline                                            1.1                     0.8
     Mean Change at Week 16                              0.1                    -0.1
Mean changes from baseline are least square means from analyses of covariance.
a
  Scale 0-78.
b
  Scale 0-76.
c
  VAS=Visual Analog Scale; 0=best, 100=worst.
d
  HAQ-DI=Health Assessment Questionnaire-Disability Index; 0=best, 3=worst; measures the subject’s ability to perform the following:
dress/groom, arise, eat, walk, reach, grip, maintain hygiene, and maintain daily activity.
e
  CRP=C-reactive protein; Reference range 0-0.5 mg/dL.
* N reflects randomized patients; actual number of patients evaluable for each endpoint may vary by timepoint.

Treatment with OTEZLA resulted in improvement in dactylitis and enthesitis in patients with pre-existing dactylitis or enthesitis.

Physical Function Response

OTEZLA 30 mg twice daily demonstrated a greater improvement compared to placebo in mean change from baseline for the Health
Assessment Questionnaire Disability Index (HAQ-DI) score at Week 16 [-0.244 vs. -0.086, respectively; 95% CI for the difference was
(-0.26, -0.06)] in Study PsA-1. The proportions of HAQ-DI responders (≥0.3 improvement from baseline) at Week 16 for the OTEZLA 30
mg twice daily group were 38%, compared to 27%, for the placebo group in Study PsA-1. Consistent results were observed in Studies PsA-
2 and PsA-3.

14.2     Psoriasis

Two multicenter, randomized, double-blind, placebo-controlled trials (Studies PSOR-1 and PSOR-2) enrolled a total of 1257 subjects 18
years of age and older with moderate to severe plaque psoriasis [body surface area (BSA) involvement of ≥10%, static Physician Global
Assessment (sPGA) of ≥3 (moderate or severe disease), Psoriasis Area and Severity Index (PASI) score ≥12, candidates for phototherapy
or systemic therapy]. Subjects were allowed to use low-potency topical corticosteroids on the face, axilla and groin. Subjects with scalp
psoriasis were allowed to use coal tar shampoo and/or salicylic acid scalp preparations on scalp lesions.

Study PSOR-1 enrolled 844 subjects and Study PSOR-2 enrolled 413 subjects. In both studies, subjects were randomized 2:1 to OTEZLA
30 mg BID or placebo for 16 weeks. Both studies assessed the proportion of subjects who achieved PASI-75 at Week 16 and the proportion
of subjects who achieved a sPGA score of clear (0) or almost clear (1) at Week 16. Across both studies, subjects ranged in age from 18 to
83 years, with an overall median age of 46 years. The mean baseline BSA involvement was 25.19% (median 21.0%), the mean baseline
PASI score was 19.07 (median 16.80), and the proportion of subjects with sPGA score of 3 (moderate) and 4 (severe) at baseline were
70.0% and 29.8%, respectively. Approximately 30% of all subjects had received prior phototherapy and 54% had received prior
conventional systemic and/or biologic therapy for the treatment of psoriasis with 37% receiving prior conventional systemic therapy and
30% receiving prior biologic therapy. Approximately one-third of subjects had not received prior phototherapy, conventional systemic nor
biologic therapy. A total of 18% of subjects had a history of psoriatic arthritis.

Clinical Response in Subjects with Plaque Psoriasis

The proportion of subjects who achieved PASI -75 responses, and sPGA score of clear (0) or almost clear (1), are presented in
Table 7.

                                                                    11
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                             Table 7: Clinical Response at Week 16 in Studies PSOR-1 and PSOR-2

                                                      Study PSOR-1                                       Study PSOR-2
                                                                 OTEZLA                                             OTEZLA
                                              Placebo                                           Placebo
                                                                30 mg BID                                          30 mg BID
   Na                                         N=282                N=562                        N=137                 N=274
   PASIb -75, n (%)                           15 (5.3)           186 (33.1)                      8 (5.8)            79 (28.8)
   sPGAc of Clear or Almost
                                             11 (3.9)                122 (21.7)                 6 (4.4)                  56 (20.4)
   Clear, n (%)
a
  N is number of randomized and treated patients.
b
  PASI=Psoriasis Area and Severity Index.
c
  sPGA=Static Physician Global Assessment.

 The median time to loss of PASI-75 response among the subjects re-randomized to placebo at Week 32 during the Randomized Treatment
 Withdrawal Phase was 5.1 weeks.

 14.3     Oral Ulcers Associated with Behçet’s Disease

 A multicenter, randomized, placebo-controlled trial (BCT-002) enrolled a total of 207 adult patients with BD with active oral ulcers. Patients
 were previously treated with at least one nonbiologic BD medication and were candidates for systemic therapy. Patients met the International
 Study Group (ISG) Criteria for BD. Patients had at least 2 oral ulcers at screening and at least 2 oral ulcers at randomization and without
 currently active major organ involvement. Concomitant treatment for BD was not allowed.

 Patients were randomized 1:1 to receive either OTEZLA 30 mg twice daily (n=104) or placebo (n=103) for 12 weeks. After Week 12, all
 patients received OTEZLA 30 mg twice daily.

 Efficacy was assessed based on the number and pain of oral ulcers.

 Patients ranged in age from 19 to 72, with a mean age of 40 years. The mean duration of BD was 6.84 years. All subjects had a history of
 recurrent oral ulcers that were currently active. Subjects had a history of skin lesions (98.6%), genital ulcers (90.3%), musculoskeletal
 manifestations (72.5%), ocular manifestations (17.4%), central nervous system (9.7%), gastrointestinal (GI) manifestations (9.2%) and
 vascular involvement (1.4%). The mean baseline oral ulcer counts were 4.2 and 3.9 in the OTEZLA and placebo groups, respectively.

 Measures of Oral Ulcers

 Improvements in measures of oral ulcers at Week 12 are presented in Table 8.

             Table 8: Clinical Response of Oral Ulcers at Week 12 in the BCT-002 Study (ITTa Population)


                                                                                     OTEZLA                Treatment
                                                                 Placebo
                            Endpoint                                              30 mg twice daily        Differenceb
                                                                 N=103
                                                                                      N=104                (95% CIc)


          Changed from baseline in the pain of oral                                                            -24.1
                                                                -18.7                  - 42.7
          ulcers as measured by VASe at Week 12                                                            (-32.4, -15.7)

          Proportionf of subjects achieving oral ulcer                                                        30.6%g
          complete response (oral ulcer-free) at               22.3%                   52.9%
                                                                                                          (18.1%, 43.1%)
          Week 12

          Proportionf of subjects achieving oral ulcer
          complete response (oral ulcer-free) by
          Week 6, and who remained oral ulcer-free                                                            25.1%g
                                                                4.9%                   29.8%
          for at least 6 additional weeks during the                                                      (15.5%, 34.6%)
          12-week Placebo-controlled Treatment
          Phase


                                                                        12
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           Daily averageh,i number of oral ulcers                                                                                  -1.1
           during the 12-week Placebo-controlled                             2.6                         1.5
                                                                                                                               (-1.6, -0.7)
           Treatment Phase
       a
         ITT=intent to treat.
       b
         OTEZLA – Placebo.
       c
         CI=confidence interval.
       d
         Mean changes from baseline are least square means from mixed-effects model for repeated measures, adjusting for sex, region, and
         baseline pain of oral ulcers as measured by the visual analog scale.
       e
         VAS=visual analog scale; 0=no pain, 100=worst possible pain.
       f
         Patients for whom data are not available to determine response status are considered non-responders.
       g
         Adjusted difference in proportions is the weighted average of the treatment differences across the 4 strata of combined sex and region
         factors with the Cochran-Mantel-Haenszel weights.
       h
         Mean daily averages are least squares means from analysis of covariance, after adjusting for sex, region, and baseline number of oral
         ulcers.
       i
         Based on oral ulcer counts measured at baseline and at Weeks 1, 2, 4, 6, 8, 10, and 12.


Figure 1 displays the mean number of oral ulcers for each treatment group at each visit, while Figure 2 displays the mean oral ulcer pain on
a visual analog scale for each treatment group at each visit.


                  Figure 1: Mean (± SE) Number of Oral Ulcers by Time Point Through Week 12 (ITT Population)




              ITT = intent-to-treat; SE = standard error.




                                                                                   13
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                 Figure 2: Mean (± SE) Oral Ulcer Pain on a Visual Analog Scale by Time Point Through Week 12
                                                        (ITT Population)




           ITT=intent-to-treat; SE=standard error.
           Oral ulcer pain was assessed on a 100-mm Visual Analog Scale with 0 = no pain and 100 = worst possible pain. Mean baseline Visual Analog
           Scale pain scores were 61.2 and 60.8 in the OTEZLA 30 mg twice daily treatment group and placebo treatment group, respectively.

16       HOW SUPPLIED/STORAGE AND HANDLING

OTEZLA is available as diamond-shaped, film-coated tablets in the following dosage strengths: 10-mg pink tablet engraved with “APR”
on one side and “10” on the other side; 20-mg brown tablet engraved with “APR” on one side and “20” on the other side; 30-mg beige tablet
engraved with “APR” on one side and “30” on the other side.

Tablets are supplied in the following strengths and package configurations:

         Package configuration                              Tablet strength                                 NDC number

            Bottles of 60                                       30 mg                                        59572-631-06
         Two-week starter pack                      13-tablet blister titration pack                         59572-630-27
                                                  containing: (4) 10-mg, (4) 20-mg,
                                                    and (5) 30-mg tablets with an
                                                    additional (14) 30-mg tablets
             28-count carton                     Two 30-mg blister cards containing                          59572-631-28
                                                         (14) 30-mg tablets
           28-day starter pack                      13-tablet blister titration pack                         59572-632-55
                                                  containing: (4) 10-mg, (4) 20-mg,
                                                    and (5) 30-mg tablets with an
                                                    additional (42) 30-mg tablets

Storage and Handling
Store tablets below 30°C (86°F).

17       PATIENT COUNSELING INFORMATION

 Diarrhea, Nausea, and Vomiting
  Instruct patients to contact their healthcare provider if they experience severe diarrhea, nausea, or vomiting. Prescribers should advise
  patients of the potential complications of severe diarrhea, nausea, or vomiting. Consider OTEZLA dose reduction or suspension if
  patients develop severe diarrhea, nausea, or vomiting [see Warnings and Precautions (5.1)].
                                                                              14
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 Depression
  Before using OTEZLA in patients with a history of depression and/or suicidal thoughts or behavior, prescribers should carefully weigh
  the risks and benefits of treatment with OTEZLA in such patients. Patients, their caregivers, and families should be advised of the need
  to be alert for the emergence or worsening of depression, suicidal thoughts or other mood changes, and if such changes occur to contact
  their healthcare provider. Prescribers should carefully evaluate the risks and benefits of continuing treatment with OTEZLA if such
  events occur [see Warnings and Precautions (5.2)].
 Weight Decrease
  Patients treated with OTEZLA should have their weight monitored regularly. If unexplained or clinically significant weight loss occurs,
  weight loss should be evaluated, and discontinuation of OTEZLA should be considered [see Warnings and Precautions (5.3)].
 Drug Interactions
  The use of strong cytochrome P450 enzyme inducers (e.g., rifampin, phenobarbital, carbamazepine, phenytoin) with OTEZLA is not
  recommended [see Warnings and Precautions (5.4), Drug Interactions (7.1), and Clinical Pharmacology (12.3)].
 Instruct patients to take OTEZLA only as prescribed.
 Advise patients OTEZLA can be taken with or without food.
 Advise patients that the tablets should not be crushed, split, or chewed.
 Advise patients about the side effects associated with OTEZLA [see Adverse Reactions (6.1)].
 Pregnancy
  Inform patients that there is a pregnancy registry for pregnant women who have taken OTEZLA during pregnancy. Advise patients to
  contact the registry at 1-877-311-8972 to enroll or visit https://mothertobaby.org/ongoing-study/otezla/ [see Use in Specific
  Populations (8.1)]. Advise pregnant women and females of reproductive potential of the potential risk to a fetus. Advise females to
  inform their prescriber of a known or suspected pregnancy.


Manufactured for: Celgene Corporation
                  Summit, NJ 07901

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